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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                      CASE NO. 4:19CR00581- BRW

CHAD WELLS
BRIAN ARTHUR
NATASHA RIDDLE

                                              ORDER

       On November 6, 2020, Chief Judge D.P. Marshall, Jr., issued Administrative Order Eight

– Court Operations During The COVID-19 Pandemic, canceling all civil and criminal jury trials

scheduled through January 15, 2021.

       Because this case is currently set for jury trial on January 12, 2021 it is continued to

Tuesday, July 20, 2021 at 9:30 a.m.. All future pretrial deadlines are also extended. The delay

occasioned by this continuance is excludable under the provisions of the Speedy Trial Act, 18

U.S.C. §3161(h)(7)(A) & (B), for the reasons identified in Administrative Order Eight – Court

Operations During The COVID-19 Pandemic.



       IT IS SO ORDERED THIS 10th day of November, 2020.

                                                     Billy Roy Wilson
                                              UNITED STATES DISTRICT JUDGE
